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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                    )
ST. JOHN PROPERTIES, INC.           )
25690 Lord Baltimore Drive          )
Baltimore, MD 21209                 )              Civil Action No. __________
                                    )
                                    )
and                                 )
                                    )
BESTGATE CORPORATE CENTER, LLC )
25690 Lord Baltimore Drive          )
Baltimore, MD 21209                 )
                                    )
       Plaintiffs,                  )
                                    )
                                    )
v.                                  )
                                    )
ACE AMERICAN INSURANCE              )
COMPANY                             )
P.O. Box 41484, TL14F               )
Philadelphia, PA 19101              )
                                    )
     SERVE ON:                      )
                                    )
                                    )
     MARYLAND INSURANCE             )
     ADMINISTRATION                 )
     200 St. Paul Place, Suite 2700 )
     Baltimore, MD 21202

       Defendant.


                                     COMPLAINT

       Plaintiffs, St. John Properties, Inc. (“St. John”) and Bestgate Corporate Center,

LLC (“Bestgate”), by and through their undersigned counsel, Andrew T. Stephenson,

Renee L. Bowen, and Franklin & Prokopik, P.C., hereby bring this Complaint against

Defendant ACE American Insurance Company (“Defendant”), seeking a declaratory

judgment as outlined herein, stating as follows:




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                   THE PARTIES, JURISDICTION, AND VENUE

   1. St. John is a corporation organized and existing under the laws of the State of

Maryland, with its principal place of business located in Baltimore, Maryland.

   2. Bestgate is a limited liability company organized and existing under the laws of

the State of Maryland, with its principal place of business located in Baltimore,

Maryland.

   3. Defendant is a corporation organized and existing under the laws of the State of

Pennsylvania, with its principal place of business located in Philadelphia, Pennsylvania.

   4. Defendant is in the business of underwriting and issuing insurance policies for

premiums paid and is authorized and routinely issues insurance policies in the State of

Maryland.

   5. This action concerns the obligations and duties owed under an insurance policy

issued by Defendant and the amount in controversy exceeds Seventy-Five Thousand

Dollars ($75,000.00), exclusive of interest and costs.

   6. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a) as

complete diversity exists between the Plaintiffs and Defendant and the amount in

controversy exceeds Seventy-Five Thousand Dollars ($75,000.00).

   7. Venue is proper under 28 U.S.C. § 1391 as Defendant regularly conducts its

business in Maryland and the subject insurance policy was issued in Maryland.

   8. There exists an actual, justiciable controversy between the parties, in that St. John

and Bestgate (collectively “Plaintiffs”) contend that a policy of insurance underwritten

and issued by Defendant affords a defense and coverage to Plaintiffs on a primary,

noncontributory basis in relation to an incident that took place on June 28, 2018 (the




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“Occurrence”) and which is the subject of two (2) lawsuits pending in the Circuit Court

for Anne Arundel County under case numbers C-02-CV-21-000823 and C-02-CV-21-

000820 (collectively the “Tort Cases”).

                                    THE OCCURRENCE

    9. At all times pertinent, Bestgate was the owner of an office building located at 888

Bestgate Road, Annapolis, Maryland 21401 (the “Property”).

    10. At all times pertinent, Bestgate engaged St. John as its agent to manage the

Property.

    11. On June 20, 2014, the Baltimore Sun Company, LLC (the “Baltimore Sun”)

entered into a Full Service Office Building Lease Agreement (the “Lease”) with St. John,

as agent for Bestgate, for a portion of the Property known as suite 104 (the “Leased

Premises”).

    12. The initial term of the Lease was for a period of five (5) years.

    13. Pursuant to the Lease, the Baltimore Sun was required to maintain a policy of

commercial general liability insurance that included, inter alia, contractual liability

coverage, premises and operations coverage, and personal injury liability coverage with

limits of no less than Two Million Dollars ($2,000,000.00) per occurrence.

    14. The Lease required the Baltimore Sun’s commercial general liability insurance

policy to name Plaintiffs as an additional insured and to be primary to, and

noncontributory with, Plaintiffs’ insurance coverage, with the Lease stating, in pertinent

part:

               All such insurance shall…name the building-owner (Bestgate
               Corporate Center, LLC) and St. John Properties, Inc. their
               respective officers, partners, employees, agents, representatives
               and any other party held harmless under the terms of any written


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               contract or agreement with [St. John] pertaining to this Lease
               and/or to the Premises and the holder of any Mortgage as
               Additional Insureds for the acts or omissions of [the Baltimore
               Sun] or others acting on behalf of [the Baltimore Sun].
   15. The Lease also required the Baltimore Sun to indemnify Plaintiffs for any

incidents arising out of the Baltimore Sun’s acts or omissions, occupancy of the

Premises, or obligations under the Lease, stating, in pertinent part:

               To the fullest extent permitted by law, [the Baltimore Sun] shall
               indemnify and hold harmless [Plaintiffs], [their] partners,
               employees, agents, representatives and any other party required to
               be indemnified and/or held harmless under the terms of any written
               contract or agreement with [Plaintiffs] pertaining to this Lease
               and/or to the Premises, from and against all claims, damages,
               losses, costs and/or expenses, including, but not limited to
               attorneys' fees, arising out of or resulting from [the Baltimore
               Sun]'s acts or omissions, occupancy of the Premises or obligations
               under this Lease…

   16. The Occurrence involved death and injury to numerous employees of the

Baltimore Sun when a gunman, Jarrod Ramos, entered the Leased Premises and began

shooting.

   17. The Complaints in the Tort Cases allege that the reason Mr. Ramos entered the

Leased Premises and began shooting was because he was “[e]nraged by what he viewed

to be a disparaging article about him, published by” the Baltimore Sun.

                              THE INSURANCE POLICY

   18. Defendant underwrote and issued a policy of Commercial General Liability

Insurance, Policy No. HDOG27869701, having an effective policy period of August 4,

2017 to August 24, 2018 (the “Policy”) to its named insured, the Baltimore Sun.

   19. The Policy provides up to One Million Dollars ($1,000,000.00) of liability

insurance per occurrence for bodily injury to which the policy applies.




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    20. On August 4, 2017, Defendant, through its agents, issued a Certificate of Liability

Insurance to Bestgate confirming that both Bestgate and St. John were named additional

insureds under the Policy. The Certificate of Liability Insurance states, in pertinent part:

                Bestgate Corporate Center, LLC and St. John Properties, Inc. are
                additional insureds as respects their interest as landlord of the
                premises leased by The Baltimore Sun, in accordance with the
                terms and conditions of the policy.

    21. The Occurrence took place during the Policy period.

                                   THE TORT CASES

    22. On June 24, 2021, the eligible beneficiaries of numerous employees of the

Baltimore Sun and/or its affiliates who were killed in the Occurrence and several

employees who were present for and survived the Occurrence filed the Tort Cases seeking

damages from St. John, Bestgate, the Baltimore Sun, and numerous other defendants for

damages allegedly arising out of the Occurrence.

    23. The causes of action in the Tort Cases against St. John and Bestgate consist of

wrongful death, survival action, and negligence based in premises liability.

    24. At all times pertinent to the Tort Cases, the Baltimore Sun leased the Leased

Premises under the valid and enforceable Lease.

    25. At all times pertinent to the Tort Cases, the Lease required the Baltimore Sun to

name St. John and Bestgate as additional insureds under the commercial general liability

insurance policy issued by Defendant.

    26. The Lease is an insured contract under the Policy.

    27. Pursuant to the Lease, the Baltimore Sun is required to indemnify, defend, and

hold harmless St. John and Bestgate for all claims, expenses, and costs, including

attorneys’ fees, for the Occurrence.


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   28. Pursuant to the Lease and their additional insured status under the Policy, St. John

and Bestgate tendered their defense in the Tort Cases to Defendant.

   29. Defendant denied the tender request and refused to provide a defense to Plaintiffs

in the Tort Cases or provide indemnification related to the Occurrence.

   30. As a result of Defendant’s refusal to provide a defense and indemnification

despite the fact that St. John and Bestgate are additional insureds under the Policy and the

fact that the Lease is an insured contract under the Policy, St. John and Bestgate have

incurred, and continue to incur, attorneys’ fees and other costs related to the Occurrence

and the Tort Cases.

                      COUNT I- DECLARATORY JUDGMENT

   31. St. John and Bestgate hereby incorporate Paragraphs 1 through 30 of this

Complaint as if fully stated herein.

   32. There exists an actual and justiciable controversy between Plaintiffs and

Defendant concerning Plaintiffs’ status as additional insureds under the Policy and the

requirement for Defendant to provide a defense and indemnification to Plaintiffs as a

result of the Occurrence and the Tort Cases.

   33. Plaintiffs contend that the Policy applies to provide a defense and coverage for

Plaintiffs on a primary, noncontributory basis and that Defendant is therefore required to

defend Plaintiffs in the Tort Cases and indemnify Plaintiffs for any and all losses arising

out of the Occurrence and the Tort Cases.

   34. Defendant contends that the Policy does not require Defendant to provide a

defense, coverage, or indemnification to Plaintiffs.




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   35. Plaintiffs seek a declaratory judgment to promptly and definitively resolve the

Parties’ controversy. The judgment requested by Plaintiffs will serve a useful purpose in

clarifying and settling the dispute at issue and will provide relief from the uncertainty and

controversy giving rise to this action.

                                 PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs St. John Properties, Inc. and Bestgate Corporate Center,

LLC respectfully pray for judgment against Defendant ACE American Insurance

Company as follows:

         A.     Declaratory judgment declaring that St. John Properties, Inc. and Bestgate

Corporate Center, LLC are additional insureds under the Policy;

         B.     Declaratory judgment declaring that Defendant is required to provide a

defense to St. John Properties, Inc. and Bestgate Corporate Center, LLC in the Tort

Cases;

         C.     Declaratory judgment declaring that Defendant is required to provide

insurance coverage to St. John Properties, Inc. and Bestgate Corporate Center, LLC in the

Tort Cases and with respect to the Occurrence;

         D.     Declaratory judgment declaring that Defendant is required to indemnify

St. John Properties, Inc. and Bestgate Corporate Center, LLC for all damages, costs,

expenses, and attorneys’ fees arising out of the Occurrence and the Tort Cases;

         E.     Declaratory judgment declaring that the Policy provides coverage to St.

John Properties, Inc. and Bestgate Corporate Center, LLC on a primary, noncontributory

basis for the Occurrence and the Tort Cases;




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          F.   Declaratory judgment declaring that the Lease is an insured contract under

the Policy;

          G.   For an award in favor of St. John Properties, Inc. and Bestgate Corporate

Center, LLC for all recoverable costs of suit, including reasonable attorney’s fees,

incurred herein; and

          H.   For any such other and further relief as the Court may deem just and

proper.




                                            Respectfully submitted,


                                            _____/s/_Renee L. Bowen___________
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